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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )               4:05cr3060
                                           )
                     Plaintiff,            )              ORDER
                                           )        TO WITHDRAW EXHIBITS
              vs.                          )        OR TO SHOW CAUSE WHY
                                           )        EXHIBITS SHOULD NOT BE
FERNANDO NUNEZ,                            )             DESTROYED
                                           )
                     Defendant.            )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for the Government shall

either 1) withdraw the following exhibits previously submitted in this matter within 15

calendar days of the date of this order, or 2) show cause why the exhibits should not be

destroyed:



Government Exhibit numbers 1 through 8 from 5/8/07 evidentiary hearing

Government Exhibit number 1 from 7/20/07 sentencing hearing



       If counsel fails to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed exhibits

without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       DATED this 11th day of September, 2007.



                                                    s/ Richard G. Kopf
                                                    United States District Judge
